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11                        UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13
14   NIKE, INC.,                            Case No. 2:21-cv-0443
15
                       Plaintiff,           FIRST AMENDED COMPLAINT FOR:
16
           v.                               (1) Direct and/or Contributory
17
                                                Trademark Infringement in Violation
     LA LA LAND PRODUCTION &
18                                              of 15 U.S.C. § 1114
     DESIGN, INC.
                                            (2) Direct and/or Contributory False
19
           and                                  Designation of Origin / Unfair
20                                              Competition in Violation of 15 U.S.C.
     JOHN GEIGER COLLECTION LLC,                § 1125(a)
21
                                            (3) Direct and/or Contributory
22                     Defendants.              Trademark Dilution in Violation of 15
                                                U.S.C. § 1125(c)
23
                                            (4) Unfair Competition in Violation of
24                                              Cal. Bus. & Prof. Code §§ 17200, et
                                                seq.
25
                                            (5) Direct and/or Contributory Common
26                                              Law Trademark Infringement and
                                                Unfair Competition
27
28                                          DEMAND FOR JURY TRIAL

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 1          Plaintiff Nike, Inc. (“Nike”), for its Amended Complaint against Defendants
 2    La La Land Production & Design, Inc. (“La La Land”) and John Geiger Collection
 3    LLC (“John Geiger”) (collectively, “Defendants”), alleges as follows:
 4                              PRELIMINARY STATEMENT
 5          1.    Over the past 50 years, Nike has built an iconic and distinctive brand for
 6    its products, a significant aspect of which is the development of distinctive trademarks
 7    that consumers associate with Nike’s products. Unfortunately, various bad actors in
 8    the U.S. and abroad have sought to wrongfully trade off of Nike’s famous brand and
 9    dupe consumers into purchasing fake Nike products. These bad actors include not
10    only those who sell these illegal fakes directly to consumers, but various others in the
11    supply chain, including manufacturers and distributors, who provide material
12    assistance to direct-to-consumer infringers. By this Complaint, Nike seeks to hold
13    accountable all bad actors in the supply chain of infringing products, including those
14    acting behind-the-scenes who play a critical and necessary role in the sale of fake
15    Nike products.
16          2.    As the largest and one of the most widely recognized sellers of athletic
17    footwear in the world, Nike utilizes trademarks on nearly all of its products. Through
18    Nike’s continuous and long-standing promotion, substantial sales, and consumer
19    recognition, the company has developed powerful trademarks rights and created some
20    of the most respected popular sneakers, including the Nike Dunk and the Nike Air
21    Force 1.
22          3.    Launched over 30 years ago, the Nike Dunk is now recognized as one of
23    the most iconic and influential sneakers of all time.
24          4.    Today, Nike Dunk sneakers—especially limited-edition collaborations—
25    are coveted by sneakerheads throughout the world. For example, the 2005 limited-
26    edition Stüssy x Nike SB Dunk Low pictured below currently sells for thousands of
27    dollars in the secondary sneaker market.
28

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 1
 2
 3
 4
 5           5.   Like the Nike Dunk, the Air Force 1, first introduced in 1982, has reached
 6    cult status. The Air Force 1 has been named dropped by many pop culture icons and
 7    desired for its many collaborations and Nike-designed colorways.
 8           6.   The Air Force 1 has also been a hallmark of the Nike By You
 9    customization program, which throughout the years, has fostered customer creativity
10    and allowed consumers to customize a unique version of the shoe that still meets
11    Nike’s rigorous quality control standards.
12           7.   The prized Stüssy x Nike SB Dunk Low, as well as Nike’s Dunk shoes
13    generally, Nike’s Air Force 1 shoes, and Nike’s Nike By You customization program
14    are original, authentic, and creative. They embody the DNA of sneaker culture. Nike
15    embraces those qualities. As such, Nike protects its iconic sneaker designs, and its
16    intellectual property in those designs, by rooting out bad actors that undermine the
17    DNA of sneaker culture by manufacturing, promoting and selling fakes.
18           8.   These bad actors include not only the individuals and companies who sell
19    fake sneakers directly to consumers, but also the entities who provide manufacturing,
20    sourcing, and other production/design services to the direct-to-consumer sellers.
21    Many sellers of fake sneakers lack the resources and connections to manufacture,
22    design, and source the products entirely by themselves. Companies acting behind-the-
23    scenes provide these services and play a critical and necessary role in such unlawful
24    activity.
25           9.   In order to adequately protect Nike’s valuable intellectual property rights,
26    its enforcement of such rights must extend up and down the supply chain—from
27    direct-to-consumer sellers to actors who are participants in and the moving forces
28    behind the infringing activities of fake sneaker sellers. Indeed, without the assistance

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 1    provided by each of these actors, the unlawful sale of fake Nike sneakers would often
 2    not be possible.
 3          10. La La Land is one of those bad actors. Specifically, La La Land
 4    manufactures, distributes, sources, sells, and/or supplies footwear products that
 5    infringe upon Nike’s intellectual property rights to others who subsequently sell those
 6    products to consumers.
 7          11. For example, La La Land manufactures and provides production and
 8    design services to companies such as Warren Lotas LLC (“Warren Lotas”). Warren
 9    Lotas is a California-based company that has promoted and sold various fakes of
10    coveted Nike Dunks supplied by La La Land. The table below shows examples of
11    fakes Warren Lotas purchased from La La Land next to genuine Nike Dunks.
12              Genuine Nike Dunks                 Fakes Purchased from La La Land
13
14
15
16
              Stüssy X Nike SB Dunk                        Warren Lotas Freddy
17                                                         Broccolini Chanclas
                   Low “Cherry”
18
19
20
21
             Nike SB Dunk Low Classic                   Warren Lotas Toxic Green
22
              Green/Black/White/Red
23
24
25
26
            Nike SB Dunk Low “J-Pack
27                  Chicago”                         Warren Lotas SB Dunk Low Jason
28          12. Additionally, La La Land offered to sell over 20,000 pairs of fake versions
                                               -4-
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 1    of Nike’s famous “SB Dunk Low NYC Pigeon” sneakers to Warren Lotas, but the
 2    sale was thwarted in October 2020 when Nike filed suit in this Court against Warren
 3    Lotas. The table below shows the fake sneakers La La Land offered to sell Warren
 4    Lotas next to genuine Nike SB Dunk Low NYC Pigeon sneakers.
 5       Nike SB Dunk Low NYC Pigeon                 Warren Lotas X Staple Pigeon OG
 6
 7
 8
 9
10             13. La La Land has also worked with another shoe “designer,” John Geiger
11    Collection LLC (“John Geiger”), to produce shoes that bear Nike’s Air Force 1 trade
12    dress.
13
                  Genuine Nike Air Force 1                     Infringing Product
14
15
16
17
               14. Sneakers bearing Nike’s trademarks that La La Land manufactures,
18
      sources, or otherwise provides, such as the sneakers shown above that La La Land
19
      sold to Warren Lotas and John Geiger, cause confusion in the marketplace regarding
20
      whether they are legitimate authorized customizations or illegal fakes. By supplying
21
      Warren Lotas and John Geiger with fake shoes using Nike’s registered Dunk and Air
22
      Force 1 trade dress and a mark that is confusingly similar to Nike’s famous Swoosh
23
      design, La La Land knowingly participated in a scheme to intentionally create
24
      confusion in the marketplace and capitalize on it. And, by marketing and selling
25
      shoes using Nike’s registered Air Force 1 trade dress, John Geiger knowingly and
26
      intentionally creates confusion in the marketplace and capitalizes on Nike’s
27
      reputation and the reputation of its iconic shoes.
28
               15. Nike files this lawsuit in an effort to hold bad actors throughout the supply
                                                 -5-
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 1    chain accountable for their critical and integral role in the infringing activities of fake
 2    sneaker sellers. Suppliers of fake sneakers such as La La Land are uniquely equipped
 3    with connections and manufacturing resources that direct-to-consumer sellers lack,
 4    and must be held accountable for enabling the widespread infringement of fake
 5    sneaker sellers such as Warren Lotas and John Geiger.
 6                                        THE PARTIES
 7          16. Nike is a corporation organized under the laws of the State of Oregon with
 8    a principal place of business at One Bowerman Drive, Beaverton, Oregon 97005.
 9          17. Upon information and belief, La La Land Production & Design, Inc. is a
10    company organized under the laws of the State of California with a principal place of
11    business at 1701 South Santa Fe Blvd, Los Angeles, California 90021.
12          18. Upon information and belief, John Geiger Collection LLC is a company
13    organized under the laws of the Commonwealth of Puerto Rico with a principal place
14    of business at 690 SW 1st Ct. Unit 2516 in Miami.
15                               JURISDICTION AND VENUE
16          19. This action arises under the trademark and anti-dilution laws of the United
17    States, 15 U.S.C. § 1051, et seq., and under statutory and common law of unfair
18    competition. This Court has subject matter jurisdiction at least under 15 U.S.C. § 1121
19    and 28 U.S.C. §§ 1331 and 1338 because this action arises under federal trademark
20    law. This Court has supplemental jurisdiction over the remaining claims pursuant to
21    28 U.S.C. § 1367.
22          20. On information and belief, this Court may exercise personal jurisdiction
23    over La La Land at least because La La Land resides in this District, La La Land’s
24    principal place of business is located within this District, La La Land does business
25    in this District, and La La Land has committed acts of infringement at issue in this
26    Complaint in this District.
27          21. On information and belief, this Court may exercise personal jurisdiction
28    over John Geiger at least because John Geiger does business in California, including

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 1    contracting with La La Land, located in California, to manufacture infringing
 2    products at issue; shipping or causing to be shipped infringing products from
 3    California;     and   making   available    infringing      products   on   its   website,
 4    https://johngeigerco.com/, that can be purchased in California. On information and
 5    belief, John Geiger has made sales of the infringing products to consumers in
 6    California.     On information and belief, John Geiger has committed acts of
 7    infringement at issue in this Complaint in California.
 8          22. Venue is proper in this District pursuant to 28 U.S.C. § 1391 because La
 9    La Land resides in this District, La La Land’s principal place of business is in this
10    District, La La Land does business in this District, La La Land is subject to personal
11    jurisdiction in this District, and La La Land has committed acts of infringement at
12    issue in this Complaint in this District. Furthermore, John Geiger does business in
13    this District by way of its relationship with La La Land; John Geiger is subject to
14    personal jurisdiction in this District; and John Geiger has committed acts of
15    infringement at issue in this Complaint in this District.
16                                FACTUAL BACKGROUND
17    A.   NIKE
18          23. Nike’s principal business activity is the design, development and
19    worldwide marketing and selling of athletic footwear, apparel, equipment, accessories
20    and services.
21          24. Nike is the largest seller of athletic footwear and apparel in the world.
22          25. Nike sells its products directly to consumers through Nike-owned retail
23    stores and digital platforms, and to retail accounts and a mix of independent
24    distributors, licensees and sales representatives in virtually all countries around the
25    world.
26          26. Nike uses trademarks on nearly all of its products.
27          27. Having distinctive trademarks that are readily identifiable is an important
28    factor in creating a market for Nike’s products, in identifying Nike and its brands, and

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 1    in distinguishing Nike’s products from the products of others.
 2          28. As a result of continuous and long-standing promotion, substantial sales,
 3    and consumer recognition, Nike has developed powerful trademarks rights.
 4    B.   NIKE’S SWOOSH DESIGN MARK
 5          29. One of Nike’s most iconic assets is the Swoosh design:             .
 6          30. The U.S. Court of Appeals for the Ninth Circuit has referenced the
 7    Swoosh design as an example of a “famous trademark [that has] assumed an exalted
 8    status….Consumers sometimes buy products bearing marks such as the Nike
 9    Swoosh…for the appeal of the mark itself, without regard to whether it signifies the
10    origin or sponsorship of the product.” Au-Tomotive Gold, Inc. v. Volkswagen of Am.,
11    Inc., 457 F.3d 1062, 1067 (9th Cir. 2006).
12          31. Nike has continuously promoted and sold products bearing the Swoosh
13    design since 1971, including in connection with dozens of iconic products.
14          32. Nike has used, and continues to use, the Swoosh design on almost all of
15    its products, and in connection with its retail sales of those products.
16          33. Nike has also promoted and sold products bearing the Swoosh design in
17    various orientations and placements.
18          34. Nike has sold billions of products bearing the Swoosh design in the
19    United States, accounting for hundreds of billions of dollars in revenue.
20          35. Nike has spent tens of billions of dollars promoting Swoosh design
21    branded products in the United States.
22          36. Nike advertises and promotes products bearing the Swoosh design
23    through a wide variety of traditional and non-traditional means, including print
24    advertising, event sponsorship, and athlete and team endorsements, to name a few.
25          37. Nike also provides the official uniforms of the National Football League,
26    the National Basketball League (“NBA”), and Major League Baseball, all of which
27    prominently bear the Swoosh design.
28          38. As a result of Nike’s promotional and sales efforts over the past nearly

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 1    fifty years, the Swoosh design is one of the most famous, recognizable, and valuable
 2    trademarks in the world.
 3          39. The Swoosh design has received unsolicited publicity and praise among
 4    consumers and in the media.
 5          40. The Swoosh design has received judicial and administrative recognition
 6    as a famous, recognizable, and valuable trademark.
 7          41. Nike has registered the Swoosh design on the Principal Register of the
 8    U.S. Patent and Trademark Office in connection with a wide array of goods and
 9    services. Relevant to this action, Nike owns all right, title, and interest in the U.S.
10    Trademark Registrations identified below.
11           Reg. No.      Trademark        Reg. Date         Goods         Compl. Ex.
12                                           Jan. 22,    Athletic shoes
             977,190                                     with or without         1
                                              1974       spikes
13
14                                            Jul. 3,    Athletic and
            1,284,385                                    casual clothing         2
                                               1984
15
            1,323,342                        Mar. 5,     Footwear                3
16                                            1985
17
                                             Mar. 5,
18          1,323,343                         1985       Footwear                4

19
                                                         Full line of
            1,990,180                        Jul. 30,    sports clothing         5
20                                            1996
21          42. Pursuant to 15 U.S.C. § 1065, Nike’s U.S. Trademark Registration Nos.
22    977,190, 1,284,385, 1,323,342, 1,323,343, and 1,990,180 are incontestable and
23    constitute conclusive evidence of the validity of the Swoosh design mark, Nike’s
24    ownership of the Swoosh design mark, and Nike’s exclusive right to use the Swoosh
25    design mark.
26    C.   NIKE’S DUNK WORD MARK AND DUNK TRADE DRESS
27          43. The Nike Dunk sneaker began as a basketball sneaker in the 1980s.
28          44. Nike introduced the Dunk sneaker in 1986 in connection with its College

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  1   Colors Program. College basketball players had typically worn single color shoes
  2   (e.g., white or black). But Nike’s College Colors Program offered schools the
  3   opportunity to have shoes that mirrored their school colors. Nike’s original “Be True
  4   to Your School” advertisement for its College Colors Program is reproduced below.
  5
  6
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  9
 10
 11
 12
 13
 14
 15
 16         45. Nike’s College Colors Program became wildly popular. At that time in
 17   the 1980s, college basketball was reaching new heights among a wide age range of
 18   athletes and fans. From east to west, rivalries were strong and network TV brought
 19   college hoops, and Nike’s Dunk sneakers, to the masses.
 20         46. The Dunk’s adoption and popularity eventually spread beyond basketball
 21   culture as the skateboard community organically adopted the Dunk making it a skate
 22   icon by the 2000s. From there, the Dunk crossed over sports and fashion, and today
 23   it is recognized as one of the most iconic and influential sneakers of all time.
 24         47. Nike drove the iconic status the Dunk enjoys today, in part, through
 25   limited-edition collaborations with designers, artists, and other creatives. For
 26   example, in 2005, Nike collaborated with Stüssy to create the limited-edition Stüssy
 27   x Nike SB Dunk Low, which was released in 2005 as part of Nike’s “Team Manager”
 28   series. The Stüssy x Nike SB Dunk Low was one of several collaborations between

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  1   Nike and others resulting in the release of limited-edition Nike Dunks in 2005.
  2         48. Another limited-edition collaboration was that between Nike and Jeff
  3   Staple, Founder and Creative Director of Staple Design and Reed Space, in 2005 to
  4   create the limited-edition Nike SB Dunk Low NYC Pigeon. Nike released 150 pairs
  5   of the Nike SB Dunk Low NYC Pigeon at Reed Space’s New York storefront. A large
  6   crowd camped-out hoping to get a pair, the New York City Police were called, and
  7   the release made the cover of the New York Post. The event paved the way for today’s
  8   sneaker culture that includes resellers, authorized post-sale customizations, and
  9   dedicated secondary markets. In fact, the Nike SB Dunk Low NYC Pigeon has been
 10   referred to as the “sneaker that started it all,” ultimately declaring the birth of sneaker
 11   culture.
 12         49. Since the launch of the Dunks in 1986, Nike has continuously and
 13   substantially exclusively used the DUNK word mark and promoted and sold sneakers
 14   bearing the Dunk trade dress.
 15         50. Nike has sold many tens of millions of Dunks in the United States,
 16   accounting for hundreds of millions of dollars in revenue.
 17         51. Nike has also registered the DUNK word mark and the Dunk trade dress
 18   on the Principal Register of the U.S. Patent and Trademark Office. Nike owns all
 19   right, title, and interest in the U.S. Trademark Registrations identified below.
 20          Reg. No.        Trademark           Reg. Date         Goods       Compl. Ex.
 21         3,780,236          DUNK            Apr. 27, 2010     Footwear           6
 22
 23
            3,711,305                          Nov. 17, 2009 Footwear               7
 24
 25
 26
            3,721,064                           Dec. 8, 2009     Footwear           8
 27
 28

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  1         52. Pursuant to 15 U.S.C. § 1065, Nike’s U.S. Trademark Registration Nos.
  2   3,780,236, 3,711,305, and 3,721,064 are incontestable and constitute conclusive
  3   evidence of the validity of the DUNK word mark and the Dunk trade dress, Nike’s
  4   ownership of the DUNK word mark and the Dunk trade dress, and Nike’s exclusive
  5   right to use the DUNK word mark and the Dunk trade dress.
  6   D.   NIKE’S AIR FORCE 1 TRADE DRESS
  7
  8
  9
 10
 11
 12
 13
 14         53. Nike released its Air Force 1 sneaker in 1982.
 15         54. The first Nike basketball shoes to feature Nike Air technology, the Air
 16   Force 1 shoes were worn by some of the NBA’s most high-profile players of the era,
 17   including the “Original Six”: Michael Cooper, Bobby Jones, Moses Malone, Calvin
 18   Natt, Mychal Thompson and Jamaal Wilkes.            Nike’s original Air Force 1
 19   advertisement featuring the “Original Six” is reproduced below.
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                            - 12 -
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  1         55. Although Nike initially discontinued the Air Force 1 shoes in 1984,
  2   demand for the wildly-popular sneakers continued to soar. Just one year later, the Air
  3   Force 1 shoes returned to the market because fans demanded it.
  4         56. Within just a few years, the popularity of the Air Force 1 shoes exploded
  5   off the basketball court too, and the shoe became a favorite of city youth up and down
  6   the East Coast.
  7         57. The cachet of owning Air Force 1 shoes was driven in part by Nike’s
  8   strategy for releasing new color combinations of the shoe. During the late 1980’s and
  9   early 1990’s, Nike sold the Air Force 1 shoes through hand-selected retail stores
 10   instead of its regular catalogue. New “drops” of the Air Force 1 shoes sold out
 11   immediately and became highly coveted items among sneaker enthusiasts.
 12         58. In the 2000s, globally recognized artists such as Nelly and Jay-Z further
 13   solidified the Air Force 1 shoes in popular culture, referencing the shoes in their lyrics
 14   and releasing limited edition collaborations with their albums. The Air Force 1 shoes’
 15   growing popularity among globally influential celebrities and music artists propelled
 16   it farther beyond sport and into culture. Nike continued to collaborate with various
 17   designers to create much-anticipated limited edition Air Force 1 styles and colorways.
 18   These collaborations and limited-run releases gave the Air Force 1 shoes a coveted
 19   level of prestige and helped spread its gospel to new generations and demographics.
 20         59. Nearly 40 years after its debut, the Nike Air Force 1 shoe has been
 21   produced in over 1,700 color combinations, including numerous limited, special, and
 22   premium editions.     The Air Force 1 shoe remains incredibly popular and has
 23   maintained sales in excess of 800 million dollars per year.
 24         60. Consumers looking for a specific style or colorway of Air Force 1 shoes
 25   are not limited to the thousands of colorways featured on past Air Force 1 shoes,
 26   however. In the mid-2000s, Nike created NikeiD, now known as Nike By You, which
 27   turned consumers into their own collaborators by providing color and material
 28   customization options for virtually every aspect of the shoes, while at the same time

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  1   maintaining the iconic Air Force 1 trade dress and ensuring the high-quality of the
  2   sneaker and its materials that consumers had come to expect from Nike products.
  3         61. Today, customers can create their own custom Air Force 1 shoes directly
  4   on Nike’s website through Nike’s Nike By You customization service. This service
  5   allows customers to choose the color of thirteen (13) different portions of the Air
  6   Force 1 shoes, and further gives the consumer the option of choosing between various
  7   types of high-quality leathers and rubbers.           By offering the Nike By You
  8   customization service, Nike offers customers an opportunity to customize Air Force 1
  9   shoes while maintaining control over the design process to ensure that the quality of
 10   the customized designs meets Nike’s rigorous quality control standards.
 11         62. For several decades, Nike promoted and sold sneakers bearing the Air
 12   Force 1 trade dress.
 13         63. Nike has sold tens of millions of Air Force 1 shoes in the United States,
 14   accounting for hundreds of millions of dollars in revenue.
 15         64. Nike has registered the Air Force 1 trade dress on the Principal Register
 16   of the U.S. Patent and Trademark Office. Nike owns all right, title, and interest in the
 17   U.S. Trademark Registrations identified below (the “Air Force 1 trade dress”).
 18                                    Nike Air Force 1 Marks
 19           Reg. No.        Trademark           Reg. Date        Goods      Compl. Ex.

 20
            3,451,905                          Jun. 24, 2008    Footwear          9
 21
 22
 23         5,820,374                          Jul. 30, 2019    Footwear         10
 24
 25         65. Pursuant to 15 U.S.C. § 1065, Nike’s U.S. Trademark Registration No.
 26   3,451,905 is incontestable and constitutes conclusive evidence of the validity of the
 27   Air Force 1 trade dress, Nike’s ownership of the Air Force 1 trade dress, and Nike’s
 28   exclusive right to use the Air Force 1 trade dress.

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  1   E.   NIKE MAINTAINS STRICT CONTROL OVER ITS TRADEMARKS AND NIKE’S
           RELATED BUSINESS REPUTATION AND GOODWILL
  2
            66. Nike’s Swoosh design mark, DUNK word mark, Dunk trade dress, and
  3
      Air Force 1 trade dress are collectively referred to in this Amended Complaint as the
  4
      “Asserted Marks.”
  5
            67. Nike maintains strict quality control standards for its products bearing the
  6
      Asserted Marks. Genuine Nike products bearing the Asserted Marks are inspected
  7
      and approved by Nike prior to distribution and sale.
  8
            68. Nike also maintains strict control over the use of the Asserted Marks in
  9
      connection with its products so that Nike can maintain control over its related business
 10
      reputation and goodwill. Nike, for example, carefully determines how many products
 11
      bearing the Asserted Marks are released, where the products are released, when the
 12
      products are released, and how the products are released.
 13
      F.   DEFENDANTS’ UNLAWFUL ACTIVITIES
 14
            69. La La Land has attempted to capitalize on the strength and fame of Nike
 15
      and its Asserted Marks by manufacturing and supplying footwear bearing the
 16
      Asserted Marks and/or confusingly similar marks (the “Infringing Products”) to
 17
      direct-to-consumer sellers of fake Nike sneakers, one of them being John Geiger.
 18
            70. La La Land’s website describes itself as a “manufacturing gem in
 19
      downtown LA’s exciting Arts District,” and touts the ability to label its products with
 20
      “Made In LA” / “Made in USA.” See http://lalaland-design.com/. La La Land
 21
      promotes its ability to manufacture “a wide range of shoes, from boots to sandals to
 22
      sneakers and everything in between.” See http://lalaland-design.com/shoes/.1
 23
            71. One of La La Land’s customers is a California-based company called
 24
      Warren Lotas LLC, which purchased Infringing Products from La La Land in at least
 25
      mid-2020 and subsequently sold and/or offered to sell those products to consumers.
 26
 27   1
       Since the filing of the original complaint, La La Land’s website has been taken
      offline and is not, at the time of the filing of this Amended Complaint, available.
 28   However, earlier versions are preserved via the Internet Archive. E.g.,
      https://web.archive.org/web/20210227235032/http://lalaland-design.com/.
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  1   The Infringing Products sold by La La Land to Warren Lotas include at least products
  2   known and offered for sale or sold as the Warren Lotas Freddy Broccolini Chanclas,
  3   the Warren Lotas Toxic Green, the Warren Lotas Jason Voorhees Dunk Low, and any
  4   other footwear products that bear the Asserted Marks and/or confusingly similar
  5   marks. Examples of Infringing Products are pictured below next to the Asserted
  6   Marks and genuine Nike products bearing the Asserted Marks.
  7         Asserted Marks            Genuine Dunks             Infringing Products
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 25         72. Upon information and belief, La La Land manufactures, distributes,
 26   sources, sells, and/or supplies Infringing Products bearing the Asserted Marks and/or
 27   confusingly similar marks, to customers such as Warren Lotas and others.
 28         73. For example, on May 6, 2020, La La Land sold 1,500 pairs of Jason SB

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  1   Dunk Low Sneakers to Warren Lotas, as shown by a La La Land invoice to Warren
  2   Lotas totaling $115,500.00. A true and correct copy of the May 6, 2020 La La Land
  3   invoice is attached hereto as Exhibit 11.
  4         74. Further, on June 24, 2020, La La Land sold 2,001 pairs of Jason SB Dunk
  5   Low Toxic Green Sneakers to Warren Lotas, as shown by a La La Land invoice to
  6   Warren Lotas totaling $162,081.00. A true and correct copy of the June 24, 2020 La
  7   La Land invoice is attached hereto as Exhibit 12.
  8         75. Additionally, on August 17, 2020, La La Land sold 20,574 pairs of Freddy
  9   Broccolini Chanclas Sneakers to Warren Lotas, as shown by a La La Land invoice to
 10   Warren Lotas totaling $1,522,476.00. A true and correct copy of the August 17, 2020
 11   La La Land invoice is attached hereto as Exhibit 13.
 12         76. Another of La La Land’s customers is Defendant John Geiger. La La
 13   Land has listed John Geiger as a client on its website as well as on its Facebook page.2
 14         77. Like Warren Lotas, John Geiger has attempted to capitalize on the
 15   strength and fame of Nike and its Air Force 1 trade dress by making, promoting,
 16   advertising, marketing, and selling in the United States footwear bearing the Air Force
 17   1 trade dress and/or confusingly similar trade dress. Infringing Products promoted
 18   and sold by John Geiger (the “Geiger Products”) include all styles of the so-called
 19   “GF-01” footwear that bear the Air Force 1 trade dress, including but not limited to
 20   the GF-01 All-White Pebbled Leather, GF-01 Hand Distressed Suede, GF-01 Black
 21   Pebbled Leather Black Chenille, GF-01 White Pebbled Leather Black Chenille, GF-
 22   01 Teal/Peach, and GF-01 Off-White Pebbled Leather, all pictured below and many
 23   of    which      can     be     found       on    John     Geiger’s     website      at:
 24   https://johngeigerco.com/pages/archive.
 25
 26
 27
 28   2
       See https://web.archive.org/web/20210227235032/http://lalaland-design.com/;
      https://www.facebook.com/LalalandDesign/
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  1         Air Force 1 trade        Genuine Air Force 1          Infringing/Geiger
  2                 dress                  Shoes                       Products

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 22         78.   On information and belief, John Geiger promotes and sells the infringing
 23   Geiger Products on its website <https://johngeigerco.com/> and on a variety of social
 24   media accounts, including Facebook, Instagram, Twitter, and YouTube.
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 10         79. During the course of discovery in the instant action, Nike learned that La
 11   La Land manufactured at least one of John Geiger’s so-called GF-01 shoes, which is
 12   pictured below. An example of the Infringing Product is pictured below next to the
 13   Asserted Marks and genuine Nike product bearing the Asserted Marks. A true and
 14   correct copy of an excerpt of La La Land production document LALA_00000001
 15   containing the image pictured below is attached hereto as Exhibit 14.
 16             Genuine Nike Air Force 1                   Infringing Product
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 18
 19
 20
            80. La La Land’s and John Geiger’s Infringing Products are not genuine Nike
 21
      products. Nike did not manufacture or inspect the Infringing Products or any
 22
      component of the Infringing Products, and it did not authorize La La Land or John
 23
      Geiger to make, promote, advertise, market, or sell the Infringing Products.
 24
            81. La La Land’s and John Geiger’s Infringing Products travel in the identical
 25
      channels of trades and are sold to identical consumers as Nike’s genuine products.
 26
            82. La La Land and John Geiger have taken systematic steps in an attempt to
 27
      falsely associate these Infringing Products with Nike. La La Land and John Geiger
 28
      have attempted to capitalize on Nike’s valuable reputation and customer goodwill by
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  1   using the Asserted Marks and/or confusingly similar marks, and inducing others to
  2   do the same, in a manner that is likely to cause consumers and potential customers to
  3   believe that the Infringing Products are associated with Nike, when they are not.
  4         83. Defendants have intentionally created confusion in the marketplace by,
  5   among other things, using Nike’s Dunk and Air Force 1 trade dress, and La La Land
  6   has intentionally created confusion by using a mark that is confusingly similar to
  7   Nike’s famous Swoosh design, and inducing others to do the same.
  8         84. Indeed, there is confusion in the marketplace regarding whether
  9   Defendants’ Infringing Products are legitimate authorized customizations or illegal
 10   fakes, as evidenced by at least the example consumer commentary below.
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 11         85. Upon learning of the Infringing Products, Nike filed a complaint for
 12   trademark infringement, false designation of origin/unfair competition, trademark
 13   dilution, unfair competition, and common law trademark infringement against Warren
 14   Lotas in this Court on October 14, 2020. See Nike v. Warren Lotas, Case No. 2:20-
 15   cv-09431 (C.D. Cal. Oct. 14, 2020).
 16         86. On December 14, 2020, this Court entered a Consent Judgment and
 17   Permanent Injunction against Warren Lotas for trademark infringement, false
 18   designation of origin/unfair competition, trademark dilution, unfair competition, and
 19   common law trademark infringement, permanently enjoining Warren Lotas from
 20   engaging in, inter alia, manufacturing, promoting, advertising, distributing, offering
 21   for sale, or selling any products, including but not limited to the Infringing Products
 22   depicted above, which are likely to cause confusion or to cause mistake or to deceive
 23   persons into the erroneous belief that the Infringing Products are sponsored, licensed,
 24   authorized, or are connected or affiliated in some way with Nike or the Asserted
 25   Marks. A true and correct copy of this Court’s Consent Judgment and Permanent
 26   Injunction is attached hereto as Exhibit 15.
 27         87. Unless stopped, Defendants’ Infringing Products, Defendants’ use of the
 28   Asserted Marks, and La La Land’s contribution and/or inducement of others to do the

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  1   same will continue to cause confusion in the marketplace, including but not limited
  2   to initial interest confusion, post-sale confusion, and confusion in the secondary
  3   sneakers’ markets.
  4         88. Defendants’ actions alleged herein are intended to cause confusion,
  5   mistake, or deception as to the source of the Infringing Products.
  6         89. Defendants’ actions alleged herein are intended to cause consumers and
  7   potential customers to believe that La La Land’s and/or its customers’ businesses and
  8   products, including John Geiger’s infringing Geiger Products, are associated with
  9   Nike, when they are not.
 10         90. By virtue of the acts complained of herein, Defendants’ have created a
 11   likelihood of injury to Nike’s business reputation and goodwill, caused a likelihood
 12   of consumer confusion, mistake, and deception as to the source of origin or
 13   relationship of Nike’s products and La La Land’s, its customers’, or John Geiger’s
 14   Infringing Products and have otherwise competed unfairly by unlawfully trading on
 15   and using the Asserted Marks without Nike’s permission.
 16         91. Defendants’ acts complained of herein are willful and deliberate.
 17         92. Defendants’ acts complained of herein have caused damage to Nike in an
 18   amount to be determined at trial, and such damages will continue to increase unless
 19   Defendants are preliminarily and permanently enjoined from their wrongful acts.
 20         93. Defendants’ acts complained of herein have caused Nike to suffer
 21   irreparable injury to its business. Nike will suffer substantial loss of goodwill and
 22   reputation unless and until Defendants are preliminarily and permanently enjoined
 23   from the wrongful acts complained of herein.
 24          COUNT I: DIRECT AND/OR CONTRIBUTORY TRADEMARK
 25             INFRINGEMENT IN VIOLATION OF 15 U.S.C. § 1114
 26         94. Nike repeats, realleges, and incorporates the preceding paragraphs as
 27   though fully set forth herein.
 28         95. Defendants’ have knowingly used and continue to use in commerce,

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  1   without Nike’s permission or authorization, the Asserted Marks and/or confusingly
  2   similar marks,3 in connection with products Defendants’ manufacture, distribute,
  3   source, sell, advertise, offer for sale, and/or supply in the United States, including the
  4   Infringing Products. Defendants’ have used the Asserted Marks with the knowledge
  5   of, and the intent to call to mind and create a likelihood of confusion with regard to
  6   and/or trade off the Asserted Marks.
  7         96. On information and belief, La La Land manufactured, distributed,
  8   sourced, sold, and/or supplied the Infringing Products to others whom it knows or has
  9   reason to know are engaging in trademark infringement of the Asserted Marks, and
 10   with knowledge that such Infringing Products would be advertised, offered for sale,
 11   and sold in the United States. La La Land thus materially contributed to the willful
 12   offer for sale and sale of goods that infringe upon the Asserted Marks. As a result, La
 13   La Land has infringed Nike’s trademarks under Section 32 of the Lanham Act, 15
 14   U.S.C. § 1114.
 15         97. On information and belief, John Geiger manufactured, distributed,
 16   sourced, sold, supplied, advertised, and/or offered for sale the Infringing Products
 17   bearing the Asserted Marks in the United States. As a result, John Geiger has
 18   infringed Nike’s trademarks under Section 32 of the Lanham Act, 15 U.S.C. § 1114.
 19         98. Nike has no control over the nature and quality of the Infringing Products
 20   that Defendants offer, and Nike’s reputation and goodwill will be damaged—and the
 21   value of the Asserted Marks jeopardized—by Defendants’ continued use of the
 22   Asserted Marks and/or confusingly similar marks, and La La Land’s contribution
 23   and/or inducement to others of the same. Because of the likelihood of confusion
 24   between Defendants’ Infringing Products and the Asserted Marks, any defects,
 25   objections, or faults found with Defendants’ Infringing Products will negatively
 26   reflect upon and injure the reputation that Nike has established for the products it
 27
      3
        As to Defendant John Geiger, as used in these sections, Asserted Marks refer only
 28   to the Air Force 1 trade dress, and Infringing Products refer only to the Geiger
      Products.
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  1   offers in connection with the Asserted Marks. As such, Defendants are liable to Nike
  2   for infringement of its registered marks under 15 U.S.C. §1114.
  3         99. As a direct and proximate result of Defendants’ wrongful acts, Nike has
  4   suffered, continues to suffer, and/or is likely to suffer damage to its trademarks,
  5   business reputation, and goodwill that money cannot compensate. Unless enjoined,
  6   Defendants will continue to use the Asserted Marks and/or confusingly similar marks,
  7   and will cause irreparable damage to Nike for which Nike has no adequate remedy at
  8   law. Thus, Nike is entitled to an injunction restraining Defendants and, as applicable,
  9   their officers, members, agents, servants, and employees, and all persons acting in
 10   concert with them, from engaging in further acts of infringement.
 11         100. Nike is further entitled to recover from Defendants the actual damages
 12   Nike has sustained, is sustaining, and/or is likely to sustain as a result of Defendants’
 13   wrongful acts.
 14         101. Defendants’ use of the Asserted Marks and/or confusingly similar marks
 15   has been intentional and willful. Defendants’ bad faith is evidenced at least by the
 16   similarity of Defendants’ Infringing Products to the Asserted Marks. Because of the
 17   willful nature of Defendants’ wrongful acts, Nike is entitled to an award of treble
 18   damages and increased profits under 15 U.S.C. § 1117.
 19         102. Pursuant to 15 U.S.C. § 1117, Nike is also entitled to recover its costs of
 20   suit and its attorneys’ fees because this is an exceptional case.
 21     COUNT II: DIRECT AND/OR CONTRIBUTORY FALSE DESIGNATION
 22      OF ORIGIN / UNFAIR COMPETITION IN VIOLATION OF 15 U.S.C §
                                  1125(a)
 23
            103. Nike repeats, realleges, and incorporates the preceding paragraphs as
 24
      though fully set forth herein.
 25
            104. The Asserted Marks are federally registered and entitled to protection
 26
      under federal and common law. Nike has extensively and continuously promoted and
 27
      used the Asserted Marks for many decades in the United States and worldwide.
 28
      Through that extensive and continuous use, the Asserted Marks have become famous
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  1   and well-known indicators of the origin and quality of Nike products.
  2         105. Defendants’ unauthorized use of the Asserted Marks and/or confusingly
  3   similar marks constitutes a false designation of origin that is likely to cause consumer
  4   confusion, mistake, or deception as to the origin, sponsorship, or approval of
  5   Defendants’ and/or Defendants’ Infringing Products by creating the false and
  6   misleading impression that Defendants’ Infringing Products are manufactured by,
  7   authorized by, or otherwise associated with Nike.
  8         106. On information and belief, La La Land manufactured, distributed,
  9   sourced, sold, and/or supplied the Infringing Products to others, including at least
 10   Warren Lotas and John Geiger, whom it knows or has reason to know are engaging
 11   in trademark infringement, false designation of origin/unfair competition, and
 12   dilution of the Asserted Marks, and with knowledge that such Infringing Products
 13   would be advertised, offered for sale, and sold in the United States.
 14         107. By manufacturing, distributing, sourcing, selling, and/or supplying the
 15   Infringing Products to Warren Lotas, John Geiger, and others, La La Land materially
 16   assisted or contributed to Warren Lotas’, John Geiger’s, and others’ offer for sale and
 17   sale of goods bearing the Asserted Marks and/or confusingly similar marks in the
 18   United States, which is causing and is likely to continue to cause confusion, to cause
 19   mistake, or to deceive the public as to the origin, source, sponsorship, approval or
 20   affiliation of Warren Lotas’ products and John Geiger products. Such conduct
 21   therefore constitutes unfair competition, false representation, and a false designation
 22   of origin, all in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
 23         108. John Geiger’s advertising, offering for sale, and sale of goods bearing the
 24   Asserted Marks and/or confusingly similar marks in the United States is causing and
 25   is likely to continue to cause confusion, to cause mistake, or to deceive the public as
 26   to the origin, source, sponsorship, approval or affiliation of John Geiger products.
 27   Such conduct therefore constitutes unfair competition, false representation, and a
 28   false designation of origin, all in violation of Section 43(a) of the Lanham Act, 15

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  1   U.S.C. § 1125(a).
  2           109. As a direct and proximate result of Defendants’ unlawful conduct, Nike
  3   has suffered, and will continue to suffer unless and until such activity is enjoined by
  4   this Court, irreparable damage and inherently unquantifiable injury and harm to its
  5   business, reputation, and customer goodwill that money cannot compensate.
  6           110. Defendants’ conduct is causing, and is likely to continue to cause, injury
  7   to the public and to Nike, and Nike is entitled to injunctive relief and to recover from
  8   Defendants actual damages Nike has sustained, is sustaining, and/or is likely to
  9   sustain as a result of Defendants’ wrongful acts, and/or an award of Defendants’
 10   profits, costs, and reasonable attorneys’ fees under 15 U.S.C. §§ 1116 and 1117. Any
 11   such damages and/or profits awarded should be trebled pursuant to 15 U.S.C. §
 12   1117(a).
 13           COUNT III: DIRECT AND/OR CONTRIBUTORY TRADEMARK
 14                DILUTION IN VIOLATION OF 15 U.S.C. § 1125(c)
 15           111. Nike repeats, realleges, and incorporates the preceding paragraphs as
 16   though fully set forth herein.
 17           112. The Swoosh design mark has become famous throughout the United
 18   States as a result of the duration, extent, and geographical reach of advertising and
 19   publicity, the amount, volume, and geographical extent of Nike’s sales and trading
 20   areas, their channels of trade, their degree of recognition, and registration of the
 21   marks.
 22           113. The Swoosh design mark became famous before La La Land used the
 23   mark.
 24           114. Because Nike’s products bearing the Swoosh design mark have gained a
 25   reputation synonymous with fashion, quality, styling, and authenticity, the Swoosh
 26   design mark has gained substantial renown.
 27           115. La La Land’s use of the Swoosh design mark and/or confusingly similar
 28   marks has caused, continues to cause, and/or is likely to cause irreparable injury to

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  1   and dilution of the distinctive quality of the Swoosh design mark in violation of Nike’s
  2   rights under 15 U.S.C. § 1125(c). La La Land’s wrongful use of the Swoosh design
  3   mark is likely to cause dilution by blurring and the whittling away of the
  4   distinctiveness and fame of the Swoosh design mark.
  5         116. Upon information and belief, La La Land manufactured, distributed,
  6   sourced, sold, and/or supplied the Infringing Products bearing the Swoosh design
  7   mark and/or confusingly similar marks to others, including at least Warren Lotas, with
  8   knowledge that such Infringing Products would be advertised, offered for sale, and
  9   sold in the United States.
 10         117. La La Land’s manufacture, distribution, sourcing, selling, and/or
 11   supplying of the Infringing Products bearing the Swoosh design mark and/or
 12   confusingly similar marks it knew would be offered for sale or sold in the United
 13   States to Warren Lotas and others materially contributed to the dilution and likely
 14   dilution the famous Swoosh design by lessening its capacity to identify and
 15   distinguish Nike exclusively as the source for products bearing or provided under the
 16   famous Swoosh design.
 17         118. La La Land and its customers such as Warren Lotas have used and
 18   continues to use in commerce the Swoosh design mark or confusingly similar marks
 19   in connection with the advertisement, promotion, and sale of the Infringing Products.
 20         119. La La Land has materially assisted in Warren Lotas’ and others’
 21   trademark dilution by its manufacture, distribution, sourcing, sale, and/or supply of
 22   the Infringing Products to Warren Lotas and others.
 23         120. As a direct and proximate result of La La Land’s trademark dilution and
 24   material contribution to others of the same, Nike has suffered, and will continue to
 25   suffer unless and until such activity is enjoined by this Court, irreparable damage and
 26   inherently unquantifiable injury and harm to its business, reputation, and customer
 27   goodwill that money cannot compensate.
 28         121. La La Land’s conduct is causing, and is likely to continue to cause, injury

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  1   to the public and to Nike, and Nike is entitled to injunctive relief and to recover La
  2   La Land’s actual damages Nike has sustained, is sustaining, and/or is likely to sustain
  3   as a result of La La Land’s wrongful acts, and/or an award of La La Land’s profits,
  4   costs, and reasonable attorneys’ fees under 15 U.S.C. §§ 1116 and 1117. Any such
  5   damages and/or profits awarded should be trebled pursuant to 15 U.S.C. § 1117(a).
  6                     COUNT IV: UNFAIR COMPETITION
  7               UNDER CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.
  8         122. Nike repeats, realleges, and incorporates the preceding paragraphs as
  9   though fully set forth herein.
 10         123. By reason of the foregoing, Defendants have been, and are, engaged in
 11   unlawful, unfair and/or fraudulent business practices in violation of §§ 17200, et seq.,
 12   of the California Bus. & Prof. Code.
 13         124. On information and belief, La La Land manufactured, distributed,
 14   sourced, sold, and/or supplied the Infringing Products bearing the Asserted Marks to
 15   others, including at least Warren Lotas and John Geiger, whom it knows or has reason
 16   to know are engaging in trademark infringement, false designation of origin/unfair
 17   competition, and dilution of the Asserted Marks, and with knowledge that such
 18   Infringing Products would be advertised, offered for sale, and sold in the United States
 19   using and/or bearing the Asserted Marks.
 20         125. By manufacturing, distributing, sourcing, selling, and/or supplying the
 21   Infringing Products using and/or bearing the Asserted Marks to Warren Lotas, John
 22   Geiger, and others, La La Land materially assisted or contributed to Warren Lotas’
 23   and John Geiger’s sale of goods using and/or bearing the Asserted Marks in the United
 24   States, which is causing and is likely to continue to cause confusion, to cause mistake,
 25   or to deceive the public as to the origin, source, sponsorship, approval, or affiliation
 26   of Warren Lotas’ products and John Geiger’s products. Such conduct therefore
 27   constitutes unfair competition, false representation, and a false designation of origin,
 28   all in violation of the California Business and Professional Code, § 17200, et seq.

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  1             126. On information and belief, John Geiger manufactured, distributed,
  2   sourced, sold, supplied, advertised, and/or offered for sale the Infringing Products
  3   bearing the Asserted Marks in the United States, which is causing and is likely to
  4   continue to cause confusion, to cause mistake, or to deceive the public as to the origin,
  5   source, sponsorship, approval, or affiliation of John Geiger’s products. Such conduct
  6   therefore constitutes unfair competition, false representation, and a false designation
  7   of origin, all in violation of the California Business and Professional Code, § 17200,
  8   et seq.
  9             127. Defendants had knowledge of Nike’s superior rights in the Asserted
 10   Marks when it manufactured, distributed, sourced, sold, advertised, offered for sale,
 11   and/or supplied goods bearing the Asserted Marks in the United States.
 12             128. As a direct and proximate result of Defendants’ unlawful conduct, Nike
 13   has suffered, and will continue to suffer unless and until such activity is enjoined by
 14   this Court, irreparable damage and inherently unquantifiable injury and harm to its
 15   business, reputation, and customer goodwill that money cannot compensate.
 16             129. Defendants’ conduct is causing, and is likely to continue to cause, injury
 17   to the public and to Nike, and Nike is entitled to injunctive relief and to recover from
 18   Defendants actual damages Nike has sustained, is sustaining, and/or is likely to
 19   sustain as a result of Defendants’ wrongful acts, and/or an award of Defendants’
 20   profits, costs, and reasonable attorneys’ fees under 15 U.S.C. §§ 1116 and 1117. Any
 21   such damages and/or profits awarded should be trebled pursuant to 15 U.S.C. §
 22   1117(a).
 23         COUNT V: DIRECT AND/OR CONTRIBUTORY COMMON LAW
 24         TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION
 25             130. Nike repeats, realleges, and incorporates the preceding paragraphs as
 26   though fully set forth herein.
 27             131. Nike was the first to use the Asserted Marks. As a result of Nike’s
 28   continuous promotion and sales of products bearing the Asserted Marks for many

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  1   decades, the Asserted Marks have become widely known, and Nike has been
  2   identified in the public mind as the manufacturer of the products to which the Asserted
  3   Marks are applied.
  4         132. As a result of the experience, care, and service of Nike in producing the
  5   products to which the Asserted Marks are applied, these products have become widely
  6   known and have acquired a worldwide reputation for fashion, quality, styling, and
  7   authenticity. Moreover, the Asserted Marks have come to symbolize Nike’s
  8   reputation for quality and excellence.
  9         133. Defendants, with knowledge and intentional disregard of Nike’s rights,
 10   have manufactured, distributed, sourced, sold, advertised, offered for sale, and/or
 11   supplied products using the Asserted Marks and/or confusingly similar marks.
 12   Defendants’ acts have caused, continue to cause, and/or are likely to cause confusion,
 13   to cause mistake, or to deceive the public as to the origin, source, sponsorship,
 14   approval, or affiliation of Defendants’ products in violation of the common law of
 15   California.
 16         134. Defendants’ acts alleged herein and specifically, without limitation,
 17   Defendants’ use, manufacture, distribution, sourcing, supplying, offers to sell,
 18   advertising, and/or selling in the United States numerous products that are
 19   confusingly similar to products bearing the Asserted Marks, infringe Nike’s exclusive
 20   trademark rights in violation of the common law.
 21         135. On information and belief, La La Land manufactured, distributed,
 22   sourced, sold, and/or supplied the Infringing Products bearing the Asserted Marks to
 23   others, including at least Warren Lotas and John Geiger, whom it knows or has reason
 24   to know are engaging in trademark infringement of the Asserted Marks, and with
 25   knowledge that such Infringing Products would be advertised, offered for sale, and
 26   sold in the United States using and/or bearing the Asserted Marks.
 27         136. By manufacturing, distributing, sourcing, selling, and/or supplying
 28   numerous products that are confusingly similar to products bearing the Asserted

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  1   Marks to Warren Lotas, John Geiger, and others, La La Land materially assisted or
  2   contributed to Warren Lotas’ and John Geiger’ sale of goods using and/or bearing the
  3   Asserted Marks in the United States, which is causing and is likely to continue to
  4   cause confusion, to cause mistake, or to deceive the public as to the origin, source,
  5   sponsorship, approval, or affiliation of Warren Lotas’ and John Geiger’s products in
  6   violation of the common law of California.
  7          137. By distributing, sourcing, selling, advertising, offering for sale, and/or
  8   supplying numerous products that are confusingly similar to products bearing the
  9   Asserted Marks, John Geiger is causing and is likely to continue to cause confusion,
 10   to cause mistake, or to deceive the public as to the origin, source, sponsorship,
 11   approval, or affiliation of John Geiger’s products in violation of the common law of
 12   California.
 13          138. As a direct and proximate result of Defendants’ unlawful conduct, Nike
 14   has suffered, and will continue to suffer unless and until such activity is enjoined by
 15   this Court, irreparable damage and inherently unquantifiable injury and harm to its
 16   business, reputation, and customer goodwill that money cannot compensate.
 17   Defendants’ conduct is causing, and is likely to continue to cause, injury to the public
 18   and to Nike, and Nike is entitled to injunctive relief and to recover from Defendants
 19   actual damages Nike has sustained, is sustaining, and/or is likely to sustain as a result
 20   of Defendants’ wrongful acts, and/or an award of Defendants’ profits, costs, and
 21   reasonable attorneys’ fees under 15 U.S.C. §§ 1116 and 1117. Any such damages
 22   and/or profits awarded should be trebled pursuant to 15 U.S.C. § 1117(a).
 23                                        JURY DEMAND
 24          1.     Pursuant to Federal Rule of Civil Procedure 38(b), Nike hereby demands
 25   a trial by jury of all issues so triable.
 26                                    PRAYER FOR RELIEF
 27          WHEREFORE, Nike respectfully prays for:
 28               1. A judgment and order that Defendants willfully (A) infringed, both

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  1              directly and contributorily, the Asserted Marks in violation of 15 U.S.C.
  2              §1114, (B) directly and contributorily used false designations of origin in
  3              violation of 15 U.S.C § 1125(a), (C) directly and contributorily diluted at
  4              least the Swoosh design mark in violation of 15 U.S.C. § 1125(c), (D)
  5              engaged in unlawful, unfair or fraudulent business practices in violation
  6              of §§ 17200, et seq., of the California Bus. & Prof. Code; and (E) directly
  7              and contributorily violated Nike’s common law rights in the Asserted
  8              Marks.
  9           2. A judgment and order enjoining Defendants and their affiliates, officers,
 10              agents, employees, attorneys, and all other persons acting in concert with
 11              Defendants, during the pendency of this action and permanently
 12              thereafter from:
 13                 a. Manufacturing, having manufactured, sourcing, having sourced,
 14                    transporting, promoting, importing, advertising, publicizing,
 15                    distributing, offering for sale, or selling any products (including but
 16                    not limited to the Infringing Products) under the Asserted Marks or
 17                    any other marks, names, symbols, or logos which, when sold by
 18                    Defendants or others who purchase from Defendants and then sell
 19                    direct to consumers, are likely to cause confusion or to cause
 20                    mistake or to deceive persons into the erroneous belief that any
 21                    products that Defendants caused, or helped cause, to enter the
 22                    stream of commerce are sponsored or licensed by Nike, are
 23                    authorized by Nike, or are connected or affiliated in some way with
 24                    Nike or the Asserted Marks;
 25                 b. Manufacturing, having manufactured, sourcing, having sourced,
 26                    transporting, promoting, importing, advertising, publicizing,
 27                    distributing, offering for sale, or selling any products (including but
 28                    not limited to the Infringing Products) under the Asserted Marks

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  1                     and/or confusingly similar marks;
  2                 c. Engaging in any act, either directly or indirectly, which is likely to
  3                     dilute the distinctive quality of the Swoosh design mark and/or
  4                     injures Nike’s business reputation, and contributing and/or
  5                     inducing others to do the same;
  6                 d. Knowingly assisting, inducing, aiding, or abetting any other person
  7                     or business entity in engaging in or performing any of the activities
  8                     referred to in paragraphs 2(a) to (e) above.
  9           3. An order that Nike is the exclusive owner of the Asserted Marks and that
 10              such marks are valid and protectable;
 11           4. An order that Defendants be required to deliver to Nike for destruction
 12              any and all shoes, digital files, packaging, printed graphics, promotional
 13              materials, business cards, signs, labels, advertisements, flyers, circulars,
 14              and any other items in any of their possession, custody, or control bearing
 15              the Asserted Marks and/or confusingly similar marks;
 16           5. An order granting an award of damages suffered by Nike according to
 17              proof at the time of trial;
 18           6. An order that Defendants account to Nike for any and all profits earned
 19              as a result of Defendants’ acts in violation of Nike’s rights,
 20           7. An award of three times the amount of compensatory damages and
 21              increased profits pursuant to 15 U.S.C. § 1117;
 22           8. An order granting restitution of Defendants’ profits earned from its
 23              unauthorized use of the Asserted Marks and/or confusingly similar marks
 24              in which profits Nike has a vested interest, pursuant to Cal. Bus. & Prof.
 25              Code § 17200, et seq.;
 26           9. An order granting pre-judgment interest on any recovery by Nike;
 27           10.An order granting an award of Nike’s costs, expenses, and reasonable
 28              attorneys’ fees; and

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  1           11.Granting such other and further relief as is just and proper.
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